OPINION — AG — ** FORFEITED BONDS — COUNTY ATTORNEY ** THE COUNTY ATTORNEY IS NOT ENTITLED TO RECEIVE, IN ADDITION TO HIS SALARY, ONE FOURTH OF A STAY BOND EXECUTED AS PROVIDED IN 39 O.S. 532 [39-532], EVEN THOUGH COLLECTED BY HIM. (BONDS, FORFEITURE OF BOND, LIABILITY, RECOGNIZANCES, COLLECTED) CITE: 19 O.S. 186 [19-186], 22 O.S. 1108 [22-1108] 39 O.S. 532 [39-532], OPINION NO. JULY 19, 1941 — PALMER IS WITHDRAWN (OVERRULED) (RICHARD M. HUFF)